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         In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **   *
                                        *
  VIRGIL L. EBRECHT,                    *
                   Plaintiff,           *
                                        *
            v.                          * No. 18-475C
                                        * Filed: November 6, 2020
  UNITED STATES,                        *
                   Defendant.           *
                                        *
     * * * * * * * * * * * * * * * * ** *
                                    ORDER


       The court is in receipt of the parties’ November 6, 2020 joint stipulation to dismiss the
above-captioned case with prejudice, with each party to bear its own costs, attorney fees,
and expenses. Pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the United States Court of
Federal Claims (2020), this court ORDERS that this case be DISMISSED with prejudice and
with each party to bear its own costs, attorney fees, and expenses.

       IT IS SO ORDERED.

                                                        s/Marian Blank Horn
                                                        MARIAN BLANK HORN
                                                                 Judge
